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                                                          U.S. Department of Justice
                                                          Civil Division




                                                                March 28, 2025

  By ECF
  Honorable Michael E. Farbiarz
  United States District Judge
  U.S. Post Office & Courthouse
  Federal Square
  Newark, New Jersey 07101

         Re:     Khalil v. Joyce, et al. , Civ. Act. No. 25-1963 (MEF) (MAH)
                 Consent Request to Extend Briefing Schedule

  Dear Judge Farbiarz:

          We represent the Respondents (“the Government”) in the above-referenced petition for writ
  of habeas corpus. With the consent of Petitioner’s counsel, the Government respectfully requests that
  this Court extend the briefing deadlines currently in effect for Petitioner’s Motion for a Preliminary
  Injunction (ECF Nos. 66, 124). Specifically, the Government asks the Court to extend the deadline
  for the Government to file an opposition to the Motion for a Preliminary Injunction from Monday,
  March 31, 2025, at 5 p.m. to Wednesday, April 2, 2025, at 10:00 a.m. The Government also asks the
  Court to grant a corresponding extension of the deadline for Petitioner’s reply, from Friday, April 4,
  2025, at 5 p.m. to Sunday, April 6, 2025, at 10:00 a.m.

           Good cause exists for the requested extensions. The Office of Immigration Litigation
  experienced a widespread IT issue that left some team members. The undersigned was unable to log
  into the computer system until the late evening on March 27. In addition, since the Government
  agreed to the current briefing schedule, the parties appeared before the Court on the morning of
  Friday, March 28, 2025. The Government’s attorneys had to travel from Washington, D.C. to New
  Jersey for the hearing. These instances delayed the Government’s ability to continue its work on its
  brief in opposition.

          Therefore, the Government respectfully requests that the Court extend the deadline for the
  Government’s opposition to Wednesday, April 2, 2025, at 10:00 a.m. and the deadline for Petitioner’s
  reply to Sunday, April 6, 2025, at 10:00 a.m.

         We thank the Court for its attention to this matter.

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                                    Respectfully submitted,

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